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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

GREAT AMERICAN LIFE INSURANCE COMPANY                                                PLAINTIFF

VS.                                             CIVIL ACTION NO. 3:16-CV-070-DMB-JMV

AVA MITCHELL TANNER,
ALITA MARGARET MITCHELL and
CRAIG J. CHEATHAM                                                                DEFENDANTS


        ANSWER TO COMPLAINT FOR INTERPLEADER AND CROSSCLAIM

       COME NOW Defendants Alita Margaret Mitchell and Craig J. Cheatham and submit this

their answer to the Complaint for Interpleader (hereinafter “Complaint”) [Docket # 1]. In support

thereof, Defendants would show as follows:

       1.      Defendants Alita Margaret Mitchell and Craig J. Cheatham (hereinafter

“Defendants”) admit the allegations in paragraph 1.

       2.      Defendants are without sufficient information to admit or deny the allegations in

paragraph 2, and therefore, deny same.

       3.      Defendants admit the allegations in paragraph 3.

       4.      Defendants admit the allegations in paragraph 4.

       5.      Defendants admit the allegations in paragraph 5.

       6.      Defendants admit the allegations in paragraph 6.

       7.      Defendants admit the allegations in paragraph 7.

       8.      Defendants state that the document speaks for itself. Except to the extent indicated

herein, Defendants are without sufficient information to admit or deny the allegations in paragraph

8, and therefore, deny same.

       9.      Defendants admit the allegations in paragraph 9.
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       10.     Defendants admit the allegations in paragraph 10, and further state that the

document speaks for itself.

       11.     Defendants admit the allegations in paragraph 11, and further state that the

document speaks for itself.

       12.     Defendants admit the allegations in paragraph 12, and further state that the

document speaks for itself.

       13.     Defendants admit the allegations in paragraph 13.

       14.     Defendants are without sufficient information to admit or deny the amount of the

lump sum death benefit in paragraph 14, and therefore, deny same.

       15.     Defendants are without sufficient information to admit or deny the amount of the

lump sum death benefit in paragraph 15, and therefore, deny same.

       16.     Defendants deny the contents of the email referenced in paragraph 16 and Exhibit

J to the Complaint.

       17.     Defendants deny the contents of the letter referenced in paragraph 17 and Exhibit

K to the Complaint. The document (a) is an attempt to offer hearsay to amend the designation of

beneficiary; (b) contains false and scandalous assertions which are immaterial, and therefore

should be stricken pursuant to Rule 12(f) of the Fed. R. Civ. Proc.; (c) ignores that decedent Don

Mitchell was capable of designating beneficiaries and assertions to the contrary should be

established by strict evidence; (d) asserts allegations that are subject to the parole evidence rule

and the statute of frauds and are inadmissible, irrelevant and immaterial; and (e) constitutes an

intentional and malicious interference with the contract rights of Alita Margaret Mitchell, and as a

result, Ava Mitchell Tanner should be held liable for actual damages, pre-judgment interest and

attorneys’ fees that have been incurred to obtain their assets.

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       18.     Defendants admit the allegations in paragraph 18.

       19.     Defendants deny the allegations in paragraph 19 as there is no uncertainty as to the

beneficiary. The named beneficiary in the subject annuity is none other than Alita Margaret

Mitchell as primary beneficiary, and Defendant Cheatham is the contingent beneficiary.

       20.     Defendants denies the allegations in paragraph 20. Don Mitchell was capable of

making the beneficiary designations of the annuities at the time that they were made. Accordingly,

the contract entered into and which Don Mitchell designated Alita Margaret Mitchell primary

beneficiary and Craig J. Cheatham as contingent beneficiary should stand.

       21.     Defendants admit the allegations in paragraph 21.

       22.     Defendants admit the allegations in paragraph 22. The payment should be paid to

Alita Margaret Mitchell as primary beneficiary.

       23.     Defendants deny that Great American Life Insurance Company (hereinafter

“GALIC”) is entitled to an award of attorney fees pursuant to the terms of the subject policy, and

in such a way that would reduce the payment made to the beneficiary.

       24.     In relation to the ad damnum paragraph beginning with “Wherefore, Premises

Considered,” Defendants:

               a.     Admit the allegations contained in paragraph A;

               b.     Admit the allegations contained in paragraph B;

               c.     Admit the allegations contained in paragraph C;

               d.     Admit the allegations contained in paragraph D;

               e.     Deny that GALIC has a basis for which GALIC is entitled to attorney fees,

and accordingly, the relief sought should be denied;

               f.     Admit the allegations contained in paragraph F; and

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               g.      Deny the allegations contained in paragraph G.

                                          CROSSCLAIM

       COMES NOW Alita Margaret Mitchell and files this Crossclaim against Ava Mitchell

Tanner. In support thereof, Alita Margaret Mitchell would show as follows:

       1.      Alita Margaret Mitchell is the wife of the decedent Don Mitchell;

       2.      At a time when he was competent and of his own free will, Don Mitchell designated

Alita Margaret Mitchell as primary beneficiary of the subject annuities identified in the Complaint.

       3.      Don Mitchell had a perfect right to designate the beneficiaries as he saw fit.

       4.      As the designated beneficiary, Alita Margaret Mitchell had a right to the death

benefits arising from the subject annuities.

       5.      Without a legal basis or right, Ava Mitchell Tanner has interfered with Alita

Margaret Mitchell’s right to the annuity death benefits by submitting a false and scandalous letter

to GALIC.

       6.      As a result of her malicious interference with Alita Margaret Mitchell’s contractual

right to the annuity death benefits, Ava Mitchell Tanner is liable for the damage Alita Margaret

Mitchell has incurred as a result of her tortious acts.

       WHERE FORE PREMISES CONSIDERED, Alita Margaret Mitchell prays that this Court

enter a judgment against Ava Mitchell Tanner for the consequential damages including, but not

limited to, pre-judgment interest compounded, attorney fees, costs and any other relief to which

she may be entitled.




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       This, the 27th day of May, 2016.

                                             Respectfully submitted,



                                             /s/ J. Hale Freeland
                                             J. HALE FREELAND, MS BAR 5525


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COUNSEL FOR ALITA
MARGARET MITCHELL
AND CRAIG J. CHEATHAM



                                CERTIFICATE OF SERVICE

        I, J. Hale Freeland, the attorney for Defendants Alita Margaret Mitchell and Craig J.
Cheatham, do hereby certify that I have on this date electronically filed the foregoing document
with the Clerk of Court using the ECF system which sent notification of such filing to all counsel
of record.

      Furthermore, I hereby certify that I have forwarded a copy of the foregoing document via
U.S. Mail, postage prepaid, to the following non-ECF participants:

       Ava Mitchell Tanner
       2759 River Trace Circle
       Bradenton, Florida 34208

       This, the 27th day of May, 2016.



                                             /s/ J. Hale Freeland
                                             J. HALE FREELAND




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